Case 2:04-cv-09049-DOC-RNB Document 4316-11 Filed 09/30/08 Page 1 of 6 Page ID
                                 #:110075
Case 2:04-cv-09049-DOC-RNB Document 4316-11 Filed 09/30/08 Page 2 of 6 Page ID
                                 #:110076
Case 2:04-cv-09049-DOC-RNB Document 4316-11 Filed 09/30/08 Page 3 of 6 Page ID
                                 #:110077
Case 2:04-cv-09049-DOC-RNB Document 4316-11 Filed 09/30/08 Page 4 of 6 Page ID
                                 #:110078
Case 2:04-cv-09049-DOC-RNB Document 4316-11 Filed 09/30/08 Page 5 of 6 Page ID
                                 #:110079
Case 2:04-cv-09049-DOC-RNB Document 4316-11 Filed 09/30/08 Page 6 of 6 Page ID
                                 #:110080
